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            EXHIBIT 8
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


   MARVEL CHARACTERS, INC.,

                          Plaintiff,

           v.                                           Civil Action No. 1:21-cv-5316

   NANCI SOLO and ERIK COLAN,                           COMPLAINT FOR
                                                        DECLARATORY RELIEF
                          Defendants.



          Plaintiff Marvel Characters, Inc. (“MCI”), for its complaint against defendants Nanci

  Solo and Erik Colan, alleges as follows:

                                       NATURE OF THE ACTION

          1.     Over its long history, MCI and its predecessors in interest (individually and

  collectively, “Marvel”) have engaged numerous writers and artists to contribute to Marvel’s

  comics. Eugene J. Colan (“Gene Colan”), who started working for Marvel in or around 1946, is

  one such writer. Marvel assigned Gene Colan stories to write, had the right to exercise creative

  control over his contributions, and paid him a per-page rate for his contributions. As a result,

  any contributions Gene Colan made were at Marvel’s instance and expense, rendering his

  contributions work made for hire, to which the Copyright Act’s termination provisions do not

  apply. Nevertheless, defendants Nanci Solo and Erik Colan, as the heirs of Gene Colan, have

  served termination notices purportedly issued under that Act, in an invalid attempt to acquire

  certain rights to iconic Marvel comic book characters and stories published between 1967 and

  1975.

          2.     In virtually identical circumstances, the Southern District of New York, as

  affirmed by the Second Circuit, granted Marvel summary judgment, finding that all of illustrator
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  Jack Kirby’s contributions between 1958 and 1963 were done at Marvel’s instance and expense

  and thus were works made for hire. Because termination rights do not exist for works made for

  hire, the Kirby heirs’ termination notices were held to be invalid and of no legal force or effect.

  See Marvel Worldwide, Inc. v. Kirby, 777 F. Supp. 2d 720 (S.D.N.Y. 2011), aff’d in relevant

  part, 726 F.3d 119 (2d Cir. 2013).

         3.      Similarly, the District Court for the District of Delaware held in In re Marvel

  Entertainment Grp., 254 B.R. 817 (D. Del. 2000), that an artist’s contributions to many of the

  very same works that are at issue here were works made for hire. There, the writer who worked

  on these comics claimed that he owned many of the characters at issue in Marvel’s bankruptcy

  proceedings. The district court rejected that claim, holding that all of the writer’s work was at

  Marvel’s instance and expense and was thus work made for hire.

         4.      Kirby and In re Marvel Entertainment dictate that the termination notices here are

  invalid. As with the artists in those cases, Marvel had the right to exercise creative control over

  Gene Colan’s contributions and paid him a per-page rate for his work. As with the artists in

  those cases, when Gene Colan worked for Marvel, he did so with the expectation that Marvel

  would pay him. And as with the artists in those cases, Gene Colan never held the copyright in

  the famous Marvel characters and comics on which he worked; rather, Marvel does, as evidenced

  by the relevant copyright registration notices themselves. Marvel thus brings this declaratory

  relief action, pursuant to 28 U.S.C. § 2201, in response to defendants’ improper attempt to

  acquire Marvel’s intellectual property.

                                               PARTIES

         5.      MCI is a Delaware corporation with its principal place of business in Burbank,

  California. MCI owns the intellectual property contained in the comic books and characters at



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  issue.

           6.     Upon information and belief, Solo was the wife of Gene Colan through the time

  of his death.

           7.     Upon information and belief, Erik Colan was the son of Gene Colan.

                                   JURISDICTION AND VENUE

           8.     This is an action for declaratory relief brought under 28 U.S.C. §§ 2201, et seq.,

  and under the Copyright Act of 1976, 17 U.S.C. §§ 101, et seq. This Court has federal question

  subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

           9.     Upon information and belief, this Court has personal jurisdiction over defendants

  Solo and Erik Colan because they are both domiciled in Brooklyn, New York.

           10.    Upon information and belief, venue is proper in this Court pursuant to 28 U.S.C.

  § 1391(b)(1) because both defendants are domiciled in this District.

                                           ALLEGATIONS

           11.    At all relevant times, Gene Colan was engaged as a comic book artist by Marvel

  in New York, New York to contribute to various comic books (the “Works”).

           12.    Any contributions Gene Colan made were at Marvel’s instance and expense.

           13.    Marvel editorial staff had the right to exercise creative control over Gene Colan’s

  contributions, and Marvel paid Gene Colan a per-page rate for his contributions. When Gene

  Colan worked for Marvel, he did so with the expectation that Marvel would pay him.

           14.    Gene Colan did not obtain any ownership interest in or to any contributions he

  made.

           15.    Marvel registered copyrights in and to the Works, which are copyrightable subject

  matter under the copyright laws of the United States. The Register of Copyrights recorded the



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  registrations, as set forth in Exhibit 1 to this complaint. Marvel has complied in all relevant

  respects with all laws governing copyright.

          16.     Between approximately June 22 and July 2, 2021, Solo and Erik Colan served

  three notices of termination on Marvel. Solo and Erik Colan claim to have a sufficient interest in

  the Works to exercise purported rights of termination under the termination provisions of the

  Copyright Act, 17 U.S.C. § 304(c), and the regulations thereunder.

          17.     The notices specifically seek to “terminate all pre-January 1, 1978 exclusive or

  non-exclusive grants of the transfer or license of the renewal copyright(s) in and to” certain

  “illustrated comic book stor[ies]” that were allegedly “authored or co-authored” by Gene Colan

  and published by Marvel between 1967 and 1975. The notices specify various effective

  termination dates, ranging from October 11, 2023 to June 11, 2031.

          18.     The comic book titles identified in the notices include Tomb of Dracula, Captain

  America, and Marvel Super-Heroes. The notices purportedly terminate alleged grants of

  copyright interests in all characters, story elements, and “indicia” in the comic books, as well as

  “all material” allegedly “authored or co-authored by Eugene J. Colan (in any and all medium(s),

  whenever created) that was reasonably associated with” these works and “registered with the

  United States Copyright Office and/or published within the termination time window, as defined

  by 17 U.S.C. § 304(c), and the” purported “effective date of this Notice of Termination.”

          19.     True and correct copies of these notices are attached hereto as Exhibits 2 through

  4.

                       COUNT I: ACTION FOR DECLARATORY RELIEF
                               [As to the Validity of All Notices]

          20.     Marvel repeats and realleges each allegation contained in paragraphs 1 through 19

  of this complaint as if fully set forth herein.


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         21.       Solo and Erik Colan have served Marvel with the termination notices described

  above. On information and belief, they submitted the notices for recordation with the U.S.

  Copyright Office.

         22.       The notices are invalid as a matter of law because the Works were created as

  works made for hire, and there are no termination rights for works made for hire. See 17 U.S.C.

  § 304(c).

         23.       The Works were made for hire because they were created at Marvel’s instance

  and expense.

         24.       Any contributions Gene Colan made to the Works were done at the instance of

  Marvel’s editorial staff, who had the right to exercise creative control over Gene Colan’s

  contributions.

         25.       Any contributions Gene Colan made to the Works were done at Marvel’s expense

  because Marvel paid Gene Colan a per-page rate for his contributions, Gene Colan made those

  contributions to the Works with the expectation that Marvel would pay him, and Gene Colan did

  not obtain any ownership interest in or to his contributions.

         26.       Marvel has a real and reasonable apprehension of litigation over any claim by

  Solo and Erik Colan that Marvel’s exploitation of the Works after the alleged termination dates

  infringes their purported rights.

         27.       There now exists between the parties an actual and justiciable controversy

  concerning the validity of the termination notices and the respective rights of Marvel, on the one

  hand, and Solo and Erik Colan, on the other.

         28.       A declaration is necessary and appropriate at this time in light of the purported

  effective termination dates and the ongoing exploitation of the Works and the development of



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  new works derivative of the Works.

         29.     Marvel has no adequate remedy at law.

         30.     Accordingly, Marvel seeks, pursuant to 28 U.S.C. § 2201, a judgment from this

  Court that the notices are invalid and therefore that Marvel will not lose its copyright interests in

  the Works on the alleged termination dates.

                                       PRAYER FOR RELIEF

         WHEREFORE, Marvel prays for a judgment against Solo and Erik Colan as follows:

         A.      For a declaration that the termination notices are invalid;

         B.      For Marvel’s attorneys’ fees and costs incurred; and

         C.      For such other and further relief as the Court deems just and equitable.




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         Dated: September 24, 2021        Respectfully Submitted,

                                          O’MELVENY & MYERS LLP


                                          By: /s/ Molly M. Lens
                                          Molly M. Lens

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                                          1625 I Street NW
                                          Washington, DC 20006
                                          Telephone: (202) 383-5300
                                          Facsimile: (202) 383-5414

                                          * Pro hac vice admission pending

                                          Attorneys for Plaintiff Marvel Characters,
                                          Inc.




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                                                                                          RECEIVED
                                   NOTICE OF TERMINATION
                                                                                       JUN 2 5 2021
                                              "BLADE"
                                                                                     At.AN BRAVERMAN

   To:     Marvel Entertainmen t, LLC                       Marvel Studios, LLC
           Marvel Worldwide, Inc.                           MVL Rights, LLC
           Marvel Property, Inc.                            MVL Development , LLC
           Marvel Characters, Inc.                          Marvel Characters, Inc.
           1290 A venue of the Americas                     500 South Buena Vista Street
           New York, NY 10104                               Burbank, CA 91521
           Attn: John Turitzin, Chief Counsel               Attn: David Galluzzi, Chief Counsel
                 Eli Bard, Deputy Chief Counsel

           The Walt Disney Company                          Marvel Animation Inc.
           500 South Buena Vista Street                     623 Circle Seven Drive
           Burbank, CA 91521                                Glendale, CA 91201
           Attn: Alan Braverman, General Counsel            Attn: Legal Department



           PLEAS E TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

  Act (17 U.S.C. § 304(c)) and the regulations issued thereunder by ! he Register of Copyrights, 37

  C.F.R. § 201.10 , Nanci Solo and Erik Colan, the children of the deceased author Eugene J. Colan,

  being the persons entitled to terminate copyright transfers by the author pursuant to said statutory

  provisions, hereby terminate all pre-January 1, 1978 exclusive or non-exclusive grants of the

  transfer or license of the renewal copyright(s) in and to the illustrated comic book stories, many of

  which feature the character Blade (a.k.a. Eric Brooks), authored or co-authored by Eugene J. Colan

  (a.k.a. Gene Colan) and published in the TOMB OF DRACULA comic book issues, all as set forth

  below:

           1.     The names and addresses of the grantees and/or successors in title whose rights are

  being terminated are as follows: Marvel Entertainmen t, LLC, Marvel Worldwide, Inc., Marvel

  Property, Inc. , Marvel Characters, Inc. , 1290 Avenue of the Americas, New York, NY 10104;

  Marvel Studios, LLC, MVL Rights LLC, MVL Development , LLC, Marvel Characters, Inc. , 500
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  South Buena Vista Street, Burbank, CA 91521 ; The Walt Disney Company, 500 South Buena

  Vista Street, Burbank, CA 91521; and Marvel Animation Inc., 623 Circle Seven Drive, Glendale,

  CA 9120 l. Pursuant to 3 7 C.F .R . § 201. 10(d), service of this notice is being made by First Class

  Mail, postage pre-paid to the abo-ve grantees or successors at the addresses shown.

          2.      The copyrighted work(s) to which this Notice of Termination apply(ies)

  (individually, the "Work"; collectively, the "Works") are the illustrated comic book story(ies),

  many of which feature the character Blade (a.k.a. Eric Brooks), authored or co-authored by Eugene

  J. Colan (a.k.a. Gene Colan), 1 along with all the characters, story elements, and/or indicia

  appearing therein, which stories were published and embodied in the comic book issues identified

  as follows:



           1 This Notice of Termination also applies to all material authored
                                                                              or co-authored by Eugene J. Colan
  (in any and all medium(s), whenever created) that was reasonably associated with the Works and was
  registered with the United States Copyright Office and/or published with in the termination time window,
  as defined by 17 U.S.C. § 304(c), and the effective date of this Notice of Termination. This Notice of
  Termination likewise includes any character, story element, or indicia reasonably associated with the Works
  including, without limitation, Blade (a.k.a. Eric Brooks), Jeanie Ovington, Abraham van Helsing, Fritz
  Burgeister, Danny Summers, Carl van Harbou, Ilsa Strangeway, Inspector Chelm , Godfrey Langston,
  Lenore DeCade, the Moorlands Monster, Lord Dering, Lady Dering, Buckley Grainger, Dr. Heinrich
  Mortte, Adrian Mortte, Corker Haller, Gladys Fulton, Jason Faust, Oliver Gordon, Molodowi, Henry
  Laswell, Duncan Corley, Helen Cantler, James Jackson, Shivvey Martin, Gordo Brown, Horatio Toombs,
  Marie Kamph, Theresa Beare, Henry Bonney, Paul Beare, Peter Vornik, Ulsa Vornik, Petra Vornik, Leonid
  Korsak, Katerina Stenski, Marcus Fydora, Shiela Whittier, Alestar Dunwick, Lilith Drake, Henrietta
  Dunwick, Rodney Dunwick, Caroline Bascombe, Hannibal King, Adrianne Brown Waters, Fred Walters,
  David Eshcol Chastity Jones, Joshua Eschol, C'Thunda, King Kull, Mae Li, Adri Nita!, Beverly Gable,
  Lyza Strang, Archibald Strang, Melanie Knight, Marcia Knight, Paul Knight, Kuai Hua, Ogun, Azi,
  Musenda, Orji, Mary-Beth Singleton, Lord Arthur Singleton, Brother Voodoo, Daniel Drumm, Daphne von
  Wilkinson, Jackson Hardy, Tilly Beatering, Martin Beatering, Ken Mitchell, Jack Bolt, Winston Twindle,
  Angie Rogers, William Perry, Joe Petri, Jack Ownes, Capt. Sid Greenely, Harold H. Harold, Aurora
  Rabinowitz, Juno, Janet Golin, Stu Summers, Elizabeth Harker, Jonathan Harker, Ed ith Harker, Quincy
  Harker, Clifton Graves, Dracula (a.k.a. Vlad Dracula), Garbiel Trulaine, Charlie O'Casey, Martin Scampt,
  Lord Turac, Frank Drake, Rachel van Helsing, Taj Nita!, Elizabeth Langley, Saint, Safron Caulder, Cecile
  Parker, Deacon Frost, Tara Brooks, Jasper O'Connor, Josiah Dawn, Lucas Brand, Professor Morgo, Dr.
  Sun, Kitty, Orphelus, Turac, Maria Dracula, Jacques Granet, Ludwig Gruber, Jack Russell, Henri Verne,
  Greta Verne, Werewolf by Night, Topaz, " Scratcher" Martin, Gregory Russoff, Laura Russoff Russell,
  Werewolf, Shiela Whittier, Trudy Taylor, and Jyota Nita!. Every reasonable effort has been made to find
  and list herein all such material. Nevertheless, if any such material has been omitted, such omission is
  unintentional and involuntary, and this Notice also applies to each and every such omitted material.

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  Title                                Co121right Claimant2                       Date           Co12yright
                                                                                  Coyyright      Reg. No.
                                                                                  Secured
  Tomb of Dracula Vol. 1, No. 1        Magazine Management Co., Inc .             10/19/1971     B712603
                                       and Marvel Comics Group
  Tomb of Dracula Vol. 1, No. 2        Magazine Management Co., Inc.              2/1/1972       B739653
                                       and Marvel Comics Group
  Tomb ofDraculaVol. l,No. 3           Magazine Management Co., Inc.              3/28/1972      B744432
                                       and Marvel Comics Group
  Tomb of Dracula Vol. 1, No. 4        Magazine Management Co., Inc.              5/30/1973      B847506
                                       and Marvel Comics Group
  Tomb of Dracula Vol. 1, No. 5        Magazine Management Co., Inc.              7/25/1972      B772985
                                       and Marvel Comics Group
  Tomb of Dracula Vol. 1, No. 6        Magazine Management Co., Inc.              9/26/1972      B787599
                                       and Marvel Comics Group
  Tomb of Dracula Vol. 1, No. 7        Magazine Management Co., Inc.              11/21/1972     B800163
                                       and Marvel Comics Group
  Tomb of Dracula Vol. 1, No. 8        Marvel Comics Group, a division            1/23/1973      B815059
                                       of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 9        Marvel Comics Group, a division            2/20/1973      B825207
                                       of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 10       Marvel Comics Group, a division            3/20/1973      B829682
                                       of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 11       Marvel Comics Group, a division            4/24/1973      B846942
                                       of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No . 12      Marvel Comics Group, a division            5/22/1973      8846899
                                       of Cadence Industries Coro.
  Tomb of Dracula Vol. 1, No. 13       Marvel Comics Group, a division            6/19/1973      8851838
                                       of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 14       Marvel Comics Group, a division            7/17/1973      B857134
                                       of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 15       Marvel Comics Group, a division            8/14/1973      B866425
                                       of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 16       Marvel Comics Group, a division            9/4/1973       B879205
                                       of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 17       Marvel Comics Group, a division            9/25/1973      B883969
                                       of Cadence Industries Coro.
  Tomb of Dracula Vol. 1, No. 18       Marvel Comics Group, a division            10/23/1973     B891716

          2 Pursuant to 37 C.F.R. § 201.l0(b)(l)(iii), this Notice of Termination includes the name ofat least

  one author of each Work to which this Notice of Termination applies. The listing herein of any corporation
  as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
  any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
  admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
  any right or remedy that Nanci Solo and/or Erik Colan, may have, at law or in equity, with respect to the
  subject matter hereof, all of which is hereby expressly reserved.

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                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 19      Marvel Comics Group, a division      11/20/1973   B899455
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 20      Marvel Comics Group, a division      1/8/1974      B906646
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 21      Marvel Comics Group, a division      2/5/1974      B918332
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 22      Marvel Comics Group, a division      3/5/1974     B926664
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 23      Marvel Comics Group, a division      5/7/1974     B939804
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 24      Marvel Comics Group, a division      6/4/1974     B939782
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 25      Marvel Comics Group, a division      6/4/1974      B956177
                                      of Cadence Industries Corporation
  Tomb of Drac-z,tla Vol. 1, No. 26   Marvel Comics Group, a division      7/2/1974     B964044
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 27      Marvel Comics Group, a division      9/3/1974      B964074
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 28      Marvel Comics Group, a division      9/3/1974      B982110
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 29      Marvel Comics Group, a division      10/8/1974    B978710
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 30      Marvel Comics Group, a division      11/5/1974     B989057
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. I, No. 31      Marvel Comics Group, a division      12/3/1974    B995431
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 32      Marvel Comics Group, a division      1/7/1975     B999523
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 33      Marvel Comics Group, a division      2/4/1975      B8139
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 34      Marvel Comics Group, a division      4/8/1975     B16961
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 35      Marvel Comics Group, a division      4/1/1975     B24311
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 36      Marvel Comics Group, a division      4/29/1975    B47240
                                      of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 3 7     Marvel Comics Group, a division      6/10/1975    B48651
                                      of Cadence Industries Corporation


          3.      The grant(s) and/or transfer(s) to which this Notice of Termination applies was

   (were) made in that (those) ce1iain copyright assignment(s) on the back of the check(s) issued by

   Marvel Entertainment, LLC's ("Marvel") predecessor company(ies) to Eugene J. Colan, regarding
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  the above-listed Works, which was (were) dated on or about the time of the publication of such

  Works, as well as any other grant(s) regarding the Works by Eugene J. Colan to Marvel's

  predecessor( s). 3

            4.    The effective date of termination for each respective Work shall be as follows:

   Title:                                                   Effective Date of Termination:

   Tomb ofDracula Vol. 1, No. 1                             October 20, 2027
   Tomb of Dracula Vol. 1, No. 2                            February 2, 2028
   Tomb of Dracula Vol. 1, No. 3                            March 29, 2028
   Tomb of Dracula Vol. 1, No. 4                            May 31 , 2029
   Tomb of Dracula Vol. 1, No. 5                            July 26, 2028
   Tomb of Dracula Vol. 1, No. 6                            September 27, 2028
   Tomb of Dracula Vol. 1, No. 7                            November 22, 2028
   Tomb of Dracula Vol. 1, No. 8                            January 24, 2029
   Tomb of Dracula Vol. 1, No. 9                            February 21, 2029
   Tomb of Dracula Vol. 1, No. 10                           March 21, 2029
   Tomb of Dracula Vol. 1, No. 11                           April 25, 2029
   Tomb of Dracula Vol. 1, No. 12                           May 23, 2029
   Tomb of Dracula Vol. 1, No. 13                           June 20, 2029
   Tomb of Dracula Vol. 1, No. 14                           July 18, 2029
   Tomb of Dracula Vol. 1, No. 15                           August 15, 2029
   Tomb of Dracula Vol. 1, No. 16                           September 5, 2029
   Tomb of Dracula Vol. 1, No. 17                           September 26, 2029
   Tomb of Dracula Vol. 1, No. 18                           October 24, 2029
   Tomb of Dracula Vol. 1, No. 19                           November 21, 2029
   Tomb of Dracula Vol. 1, No. 20                           January 9, 2030
   Tomb of Dracula Vol. 1, No. 21                           February 6, 2030
   Tomb of Dracula Vol. 1, No. 22                           March 6, 2030
   Tomb of Dracula Vol. 1, No. 23                           May 8, 2030
   Tomb of Dracula Vol. 1, No. 24                           June 5, 2030
   Tomb of Dracula Vol. 1, No. 25                           June 5, 2030
   Tomb of Dracula Vol. 1, No. 26                           July 3, 2030
   Tomb of Dracula Vol. 1, No. 27                           September 4, 2030
   Tomb of Dracula Vol. I, No. 28                           September 4, 2030
   Tomb of Dracula Vol. 1, No. 29                           October 9, 2030


            This Notice of Termination also applies to each and every grant or alleged grant by Eugene J.
            3

  Colan of rights under copyright in and to the Works that falls within the applicable termination time window
  (defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonable effort
  has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
  transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
  applies as well to each and every such omitted grant and/or transfer.
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   Tomb of Dracula Vol. 1, No. 30                       November 6, 2030
   Tomb of Dracula Vol. 1, No. 31                       December 4, 2030
   Tomb of Dracula Vol. 1, No. 32                       January 8, 2031
   Tomb of Dracula Vol. 1, No. 33                       February 5, 2031
   Tomb of Dracula Vol. 1, No . 34                      Aoril 9, 2031
   Tomb of Dracula Vol. 1, No. 35                       April 2, 2031
   Tomb of Dracula Vol. 1, No. 36                       April 30, 2031
   Tomb of Dracula Vol. 1, No . 37                      June 11, 2031


         5.      Eugene J. Colan died on June 23 , 2011. His surviving children, Nanci Solo and Erik

  Colan, are the persons entitled to exercise the termination right pursuant to 17 U.S.C . §

  304(c)(2)(B), as to the grant(s) identified herein. This Notice has been signed by all persons needed

  to terminate said grant(s) under 17 U.S.C. § 304(c).


   Dated: June 22, 2021                                 TOBEROFF & ASSOCIATES, P.C.



                                                        Marc To beroff

                                                        23823 Malibu Road, Suite 50-363
                                                        Malibu, CA 90265
                                                        Tel: (310) 246-3333

                                                        As counsel for and on behalf of Nanci Solo
                                                        and Erik Colan




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                                          CERTIFICATE OF SER VICE

                I hereby certify that I caused a true copy of the foregoing document described as

        NOTICE OF TERMINA TION to be served this 22 nd day of June, 2021 , by First Class Mail,

        postage prepaid, upon each of the following:

         To:   Marvel Entertainment, LLC                              Marvel Studios, LLC
               Marvel Worldwide , Inc.                                MVL Rights, LLC
               Marvel Property, Inc.                                  MVL Development, LLC
               Marvel Characters , Inc.                               Marvel Characters , Inc.
               1290 A venue of the Americas                           500 South Buena Vista Street
               New York, NY 10104                                     Burbank, CA 91521
               Attn: John Turitzin, Chief Counsel                     Attn: David Galluzzi, Chief Counsel
                     Eli Bard, Deputy Chief Counsel

               The Walt Disney Company                                Marvel Animation Inc.
               500 South Buena Vista Street                           623 Circle Seven Drive
               Burbank, CA 91521                                      Glendale, CA 91201
               Attn: Alan Braverman, General Counsel                  Attn: Legal Department



               I declare under penalty of perjury that the foregoing is true and correct. Executed this

        22 nd day of June, 2021 , at Malibu, California.




                                                               Breck Kadaba
                                                               Toberoff & Associates, P.C.
                                                               23823 Malibu Road, Suite 50-363
                                                               Malibu, CA 90265

                                                               Counsel for Nanci Solo and Erik Colan




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                                  NOTICE OF TERMINATION                                 JUN 2 5 2021
                                            "FALCON"                                   ALAN BRAVERMAN

   To:   Marvel Entertainment, LLC                         Marvel Studios, LLC
         Marvel Worldwide, Inc.                            MVL Rights, LLC
         Marvel Property, Inc.                             MVL Development, LLC
         Marvel Characters, Inc.                           Marvel Characters, Inc.
         1290 Avenue of the Americas                       500 South Buena Vista Street
         New York, NY 10104                                Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company                           Marvel Animation Inc.
         500 South Buena Vista Street                      623 Circle Seven Drive
         Burbank, CA 91521                                 Glendale, CA 91201
         Attn: Alan Braverman, General Counsel             Attn: Legal Department

         PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

  Act (17 U.S.C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

  C.F.R. § 201.10, Nanci Solo and Erik Colan, the children of the deceased author Eugene J. Colan,

  being the persons entitled to terminate copyright transfers by the author pursuant to said statutory

  provisions, hereby terminate all pre-January 1, 1978 exclusive or non-exclusive grants of the

  transfer or license of the renewal copyright(s) in and to the illustrated comic book stories, many of

  which feature the character Falcon (a.k.a. Samuel Wilson), authored or co-authored by Eugene J.

  Colan (a.k.a. Gene Colan) and published in the CAPTAIN AMERICA comic book issues, all as

  set forth below:

          1.     The names and addresses of the grantees and/or successors in title whose rights are

   being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

  Property, Inc., Marvel Characters, Inc., 1290 Avenue of the Americas, New York, NY 10104;

   Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc., 500

   South Buena Vista Street, Burbank, CA 91521; The Walt Disney Company, 500 South Buena

   Vista Street, Burbank, CA 91521; and Marvel Animation Inc., 623 Circle Seven Drive, Glendale,
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  CA 91201. Pursuant to 37 C.F .R. § 201.10(d), service of this notice is being made by First Class

  Mail, postage pre-paid to the above grantees or successors at the addresses shown.

          2.      The copyrighted work(s) to which this Notice of Termination apply(ies)

  (individually, the "Work"; collectively, the "Works") are the illustrated comic book story(ies),

  many of which feature the character Falcon (a.k.a. Samuel Wilson), authored or co-authored by

  Eugene J. Colan (a.k.a. Gene Colan), 1 along with all the characters, story elements, and/or indicia

  appearing therein, which stories were published and embodied in the comic book issues identified

  as follows:

 Title                                   Co12yright Claimant2                     Date            Co12yright
                                                                                  Co12yright      Reg. No.
                                                                                  Secured
  Captain America Vol. 1, No. 117        Magazine Management Co ., Inc.           5/13/1969       B532114
                                         and Marvel Comics Group


           1 This Notice of Termination also applies to all material authored or co-authored by Eugene J. Colan

  (in any and all medium(s), whenever created) that was reasonably associated with the Works and was
  registered with the United States Copyright Office and/or published within the termination time window,
  as defined by 17 U.S.C. § 304(c), and the effective date of thi s Notice of Tennination . This Notice of
  Termination likewise includes any character, story element, or indicia reasonably associated with the Works
  including, without limitation, Falcon (a.k.a. Samuel Wilson), Redwing, Captain America (a.k.a. Steve
  Rogers), Red Skull, Eric Gruning, Angelo Baldini, Ivan Krushki, Franz Cadavus, Iron-Hand Hauptmann,
  General Ching, MODOK, Rick Jones, Sharon Carter, Nick Fury, Dum-Dum Dugan, Mart Baker, Agent R-
  1 ("Grizzly"), Agent R-2 ("Mike"), Professor Paul Fosgrave, Man-Brute, Silas X. Cragg, Abraham Erskine,
  HeiJ1z Kruger General Phillips, Jarvis, Yellowjacket, Wasp, Black Panther, Vision , Robert Dietzel,
  Scorpion, Jasper Sitwell, Suprema, Scarbo, J. Jonah Jameson, Tony Stark, "Aces" Wild, Agent A-12, Agent
  A-14, Mandarin, Dr. Robert Hoskins, Diamond Head, Maggia, Android X-4, Dr. Ralph Ryder, Joe
  Robertson, Bucky Barnes, Heinrich Zemo, King Hassab of Irabia, The Hood, Batroc the Leaper, Whirlwind,
  Porcupine, Hulk, Spider-Man (a.k.a. Peter Parker), Doctor Doom, Scientist Supreme, Stone-Face, Sarah
  Wilson-Casper, Jody Casper, the Monster Ape, Prince, Mole Man, the Moloids, and Harry Osborn. Every
  reasonable effort has been made to find and list herein all such material. Nevertheless, if any such material
  has been omitted, such omission is unintentional and involuntary, and this Notice also applies to each and
  every such omitted material.

          2Pursuant to 37 C.F.R. § 201.l0(b)(l)(iii), this Notice of Termination includes the name of at least
  one author of each Work to which this Notice of Termination applies. The listing herein of any corporation
  as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
  any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
  admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
  any right or remedy that Nanci Solo and/or Erik Colan, may have, at law or in equity, with respect to the
  subject matter hereof, all of which is hereby expressly reserved.

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 Captain America Vol. 1, No . 118     Magazine Management Co., Inc.       6/ 10/1969    B532062
                                      and Marvel Comics Group
 Captain America Vol. 1, No. 119      Magazine Management Co., Inc.       7/8/1969      B532117
                                      and Marvel Comics Group
 Captain America Vol. 1, No. 120      Magazine Management Co., Inc.       8/12/ 1969    B533818
                                      and Marvel Comics Group
 Captain America Vol. 1, No. 121      Magazine Management Co., Inc.       9/9/1969      B545951
                                      and Marvel Comics Group
 Captain America Vol. 1, No. 122      Magazine Management Co., Inc.       10/14/ 1969   B545968
                                      and Marvel Comics Group
 Captain America Vol. 1, No. 123      Magazine Management Co., Inc.       11 /11/1969   B549540
                                      and Marvel Comics Group
 Captain America Vol. 1, No. 124      Magazine Management Co., Inc.       12/9/ 1969    B557545
                                      and Marvel Comics Group
 Captain America Vol. 1, No. 125      Magazine Management Co., Inc.       1/13/1970     B567218
                                      and Marvel Comics Group
  Captain America Vol. 1, No. 126     Magazine Management Co., Inc.       2/ 10/1970    B576035
                                      and Marvel Comics Group
  Captain America Vol. 1, No. 127     Magazine Management Co., Inc.       3/ 10/ 1970   B578594
                                      and Marvel Comics Group
  Captain America Vol. 1, No. 128     Magazine Management Co., Inc.       4/7/ 1970     B586684
                                      and Marvel Comics Group
  Captain America Vol. 1, No. 129     Magazine Management Co., Inc.       5/5/ 1970     B598586
                                      and Marvel Comics Group
  Captain America Vol. 1, No. 130     Magazine Management Co. , Inc.      6/9/ 1970     B598589
                                      and Marvel Comics Grouo
  Captain America Vol. 1, No. 131     Magazine Management Co., Inc.       7/7/1970      B609524
                                      and Marvel Comics Group
  CaptainAmericaVol. l , No.132       Magazine Management Co., Inc.       8/4/1970      B612392
                                      and Marvel Comics Grouo
  Captain America Vol. 1, No. 133      Magazine Management Co ., Inc.     9/8/1970      B630153;
                                       and Marvel Comics Grouo                          B630214
  Captain America Vol. 1, No. 134      Magazine Management Co. , Inc.      10/6/ 1970   B630191
                                       and Marvel Comics Group
  Captain America Vol. 1, No. 13 5     Magazine Management Co., Inc.       11 /3/1970   B631976
                                       and Marvel Comics Group
  Captain America Vol. 1, No. 136      Magazine Management Co., Inc.       12/15/1970   B638024
                                       and Marvel Comics Group
  Captain America Vol. 1, No . 13 7    Magazine Management Co., Inc.       1/12/1971    B648901
                                       and Marvel Comics Group


          3.     The grant(s) and/or transfer(s) to which this Notice of Termination applies was

   (were) made in that (those) certain copyright assignment(s) on the back of the check(s) issued by


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  Marvel Entertainment, LLC's ("Marvel") predecessor company(ies) to Eugene J. Colan, regarding

  the above-listed Works, which was (were) dated on or about the time of the publication of such

  Works, as well as any other grant(s) regarding the Works by Eugene J. Colan to Marvel's

  predecessor(s). 3

            4.    The effective date of termination for each respective Work shall be as follows:

   Title:                                                Effective Date of Tennination:

   Caotain America Vol. 1, No. 117                       May 14, 2025
   CalJ(ain America Vol. 1, No. 118                      June 1 1, 2025
   Captain America Vol. l, No. 119                       July 9, 2025
   Captain America Vol. 1, No. 120                       August 13, 2025
   CavtainAmerica Vol. 1, No. 121                        September 10, 2025
   Captain America Vol. 1, No. 122                       October 15, 2025
   Captain America Vol. 1, No. 123                       November 12, 2025
   Captain America Vol. 1, No. 124                       December 10, 2025
   Captain America Vol. 1, No . 125                      January 14, 2026
   Captain America Vol. 1, No. 126                       February 11 , 2026
   CaJJtainAmericaVol. 1, No. 127                        March 11 , 2026
   Captain America Vol. 1, No. 128                       April 8, 2026
   Cavtain America Vol. 1, No. 129                       May 6, 2026
   Captain America Vol. 1, No. 130                       June 10, 2026
   Captain America Vol. 1, No. 131                       July 8, 2026
   Cavtain America Vol. 1, No. 132                       August 5, 2026
   Captain America Vol. 1, No. 133                       September 9, 2026
   Captain America Vol. 1, No. 134                       October 7, 2026
   Captain America Vol. 1, No . 135                      November 4, 2026
   Captain America Vol. 1, No. 136                       December 16, 2026
   Captain America Vol. 1, No. 137                       January 13, 2027


            5.    Eugene J. Colan died on June 23 , 2011. His surviving children, Nanci Solo and Erik

  Colan, are the persons entitled to exercise the termination right pursuant to 17 U.S .C . §




            3This Notice of Termination also applies to each and every grant or alleged grant by Eugene J.
  Co Ian of rights under copyright in and to the Works that falls within the applicable termination time window
  (defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonable effort
  has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
  transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
  applies as well to each and every such omitted grant and/or transfer.
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      304(c)(2)(B), as to the grant(s) identified herein. This Notice has been signed by all persons needed

      to terminate said grant(s) under 17 U.S .C. § 304(c).




                                                                   -----
       Dated: June 22, 2021                              TOBEROFF & ASSOCIATES , P .C.


                                                           ./7-?/~
                                                         Marc Toberoff

                                                         23823 Malibu Road, Suite 50-363
                                                         Malibu, CA 90265
                                                         Tel: (310) 246-3333

                                                         As counsel for and on behalf of Nanci Solo
                                                         and Erik Colan




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                                       CERTIFICATE OF SERVICE

              I hereby certify that I caused a true copy of the foregoing document described as

       NOTICE OF TERMINATION to be served this 22 nd day of June, 2021 , by First Class Mail,

       postage prepaid, upon each of the following:

        To:   Marvel Entertainment, LLC                            Marvel Studios, LLC
              Marvel Worldwide, Inc.                               MVL Rights, LLC
              Marvel Property, Inc.                                MVL Development, LLC
              Marvel Characters, Inc.                              Marvel Characters, Inc.
              1290 Avenue of the Americas                          500 South Buena Vista Street
              New York, NY 10104                                   Burbank, CA 91521
              Attn: John Turitzin, Chief Counsel                   Attn: David Galluzzi, Chief Counsel
                    Eli Bard, Deputy Chief Counsel

              The Walt Disney Company                              Marvel Animation Inc.
              500 South Buena Vista Street                         623 Circle Seven Drive
              Burbank, CA 91521                                    Glendale, CA 91201
              Attn: Alan Braverman, General Counsel                Attn: Legal Department



              I declare under penalty of pe1j ury that the foregoing is true and correct. Executed this

       22 nd day of June, 2021, at Malibu, California.




                                                          Breck Kadaba
                                                          Toberoff & Associates, P.C.
                                                          23823 Malibu Road, Suite 50-363
                                                          Malibu, CA 90265

                                                             Counsel for Nanci Solo and Erik Colan




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                                    NOTICE OF TERMINATION
                                                                                        JUL O7 2021
                                        "CAPTAIN MARVEL"
                                                                                      ALAN BRAVERMAN


   To:    Marvel Entertainment, LLC                           Marvel Studios, LLC
          Marvel Worldwide, Inc.                              MVL Rights, LLC
          Marvel Property, Inc.                               MVL Development, LLC
          Marvel Characters, Inc.                             Marvel Characters, Inc.
          1290 Avenue of the Americas                         500 South Buena Vista Street
          New York, NY 10104                                  Burbank, CA 91521
          Attn: John Turitzin, Chief Counsel                  Attn: David Galluzzi, Chief Counsel
                Eli Bard, Deputy Chief Counsel

          The Walt Disney Company                             Marvel Animation Inc.
          500 South Buena Vista Street                        623 Circle Seven Drive
          Burbank, CA 91521                                   Glendale, CA 91201
          Attn: Alan Braverman, General Counsel               Attn: Legal Department



          PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

   Act (17 U.S.C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

   C.F.R . § 201 .10, Nanci Solo and Erik Colan, the children of the deceased author Eugene J . Colan,

   being the persons entitled to terminate copyright transfers by the author pursuant to said statutory

   provisions, hereby terminate all pre-January 1, 1978 exclusive or non-exclusive grants of the

   transfer or license of the renewal copyright(s) in and to the illustrated comic book stories, featuring

   the character Captain Marvel (a.k.a. Mar-Vell), authored or co-authored by Eugene J. Colan (a.k.a.

   Gene Colan), and published in the respective comic book issues listed in paragraph 2 of this Notice,

   all as set forth below:

           1.      The names and addresses of the grantees and/or successors in title whose rights are

   being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

   Property, Inc. , Marvel Characters, Inc., 1290 Avenue of the Americas, New York, NY 10104;

   Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc. , 500
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  South Buena Vista Street, Burbank, CA 91521; The Walt Disney Company, 500 South Buena

  Vista Street, Burbank, CA 91521; and Marvel Animation Inc. , 623 Circle Seven Drive, Glendale,

  CA 91201. Pursuant to 37 C.F.R. § 201.I0(d), service of this notice is being made by First Clas

  Mail, postage pre-paid to the above grantees or successors at the addresses shown.

          2.       The copyrighted work(s) to which this Notice of Termination apply(ies)

  (individually, the " Work" · collectively, the " Works") are the illustrated comic book story(ies),

  featuring the character Captain Marvel (a.k.a. Mar-Vell), authored or co-authored by Eugene J.

  Colan (a.k.a. Gene Colan), 1 along with all the characters, story elements, and/or indicia appearing

  therein, which stories were published and embodied in the comic book issues identified as follows:

 Title                                      Co12yright Claimant'                    Date             Co12yright
                                                                                    Co12yright       Reg. No.
                                                                                    Secured

 Marvel Super-Heroes Vol 1, No. 12          Marvel Comics, Inc. and                 10/10/1967       B462618
                                            Marvel Comics Group
 Marvel Super-Heroes Vol 1, No. 13          Marvel Comics, Inc. and                 12/ 12/ 1967     B462617
                                            Marvel Comics Group



           1 This Notice of Termination also applies to all material authored or co-authored by Eugene J. Colan
   (in any and all medium(s), whenever created) that was reasonably associated with the Works and was
   registered with the United States Copyright Office and/or published within the termination time window,
   as defined by 17 U.S.C. § 304(c), and the effective date of this Notice of Termination. This Notice of
   Termination likewise includes any character, story element, or indicia reasonably associated with the Works
   including, without limitation, Captain Marvel (a.k.a. Mar-Veil), Carol Danvers (a.k.a. Car-Ell), Una, Yon-
   Rogg, Zarek, the Kree Soldiers, Jeremy Logan, Supreme Intelligence, Sentry 459, Ronan the Accuser,
   Walter Lawson, Sam Hill , General William Bridges, Walter Lawson, Dorrek VII, Anelle, Machino, Hal
   Logan, Chester Fenton, Super-Skrull (a.k.a. Kl ' rt), the Skrull Emperor, and Namor the Sub-Mariner. Every
   reasonable effort has been made to find and list herein all such material. Nevertheless, if any such material
   has been omitted, such omission is unintentional and involuntary, and this Notice also applies to each and
   every such omitted material.

           2 Pursuant to 37 C.F.R. § 201.1 0(b)( I )(iii), this Notice of Termination includes the name of at least

   one author of each Work to which this Notice of Termination applies. The listing herein ofany corporation
   as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
   any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
   admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
   any right or remedy that Nanci Solo and/or Erik Colan, may have, at law or in equity, with respect to the
   subject matter hereof, all of which is hereby expressly reserved.

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Marvel's Space-Born Superhero!            Marvel Comics, Inc. and                2/8/1968         B462622
Captain Marvel Vol. 1, No. 1              Marvel Comics Group
Marvel 's Space-Born Superhero!           Marvel Comics, Inc. and                3/7/1968         B462631
Captain Marvel Vol. 1, No. 2              Marvel Comics Group
Marvel 's Space-Born Superhero!           Marvel Comics, Inc. and                4/9/1968         B462609
Captain Marvel Vol. 1, No. 3              Marvel Comics Group
Marvel 's Space-Born Superhero!           Marvel Comics, Inc. and                5/9/1968         B462620
Captain Marvel Vol. 1, No. 4              Marvel Comics Group


            3.    The grant(s) and/or transfer(s) to which this Notice of Termination applies was

  (were) made in that (those) certain copyright assignment(s) on the back of the check( s) issued by

  Marvel Entertainment, LLC ' s ("Marvel") predecessor company(ies) to Eugene J. Colan, with

  respect to the above-listed Works, which was (were) dated on or about the time of the respective

  publication of such Works, as well as any other grant(s) regarding the Works by Eugene J. Colan

  to Marvel' s predecessor(s). 3

            4.    The effective date of termination for each respective Work shall be as follows:

   Title:                                                   Effective Date of Termination:

   Marvel Super-Heroes Vol 1, No. 12                        October 11, 2023
   Nlarvel Suoer-Heroes Vol 1, No. 13                       December 13, 2023
   Marvel 's Space-Born Superhero!                          February 9, 2024
   Captain Marvel Vol. 1, No. 1
   Marvel 's Space-Born Superhero!                          March 8, 2024
   Captain Marvel Vol. 1, No. 2
   Marvel 's ,pace-Born Superhero!                          April 1O, 2024
   Captain Marvel Vol. 1, No. 3
   Marvel 's Space-Born Superhero!                          May 10, 2024
   Captain Marvel Vol. 1, No. 4




            This Notice of Tennination also applies to each and every grant or alleged grant by Eugene J.
            3

  Colan of rights under copyright in and to the Works that falls within the applicable termination time window
  (defined by 17 U.S.C . § 304(c) and the effective date of this Notice ofTermination). Every reasonable effort
  has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
  transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
  applies as we ll to each and every such omitted grant and/or transfer.
                                                        3
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      Case 1:21-cv-05316 Document
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         5.      Eugene J. Colan died on June 23, 2011. His surviving children, Nanci Solo and Erik

  Colan, are the persons entitled to exercise the termination right pursuant to 17 U.S.C. §

  304(c)(2)(B), as to the grant(s) identified herein. This Notice has been signed by all persons needed

  to terminate said grant(s) under 17 U.S.C. § 304(c).


   Dated: July 2, 2021                               TOBEROFF & ASSOCIATES, P.C.



                                                     Marc Toberoff

                                                     23823 Malibu Road, Suite 50-363
                                                     Malibu, CA 90265
                                                     Tel: (310) 246-3333

                                                     As counsel for and on behalf of Nanci Solo
                                                     and Erik Colan




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                                  CERTIFICATE OF SERVICE

         I hereby certify that I caused a true copy of the foregoing document described as

  NOTICE OF TERMINATION to be served this 2 nd day of July, 2021 , by First Class Mail ,

  postage prepaid, upon each of the following:

   To:   Marvel Entertainment, LLC                           Marvel Studios, LLC
         Marvel Worldwide, Inc.                              MVL Rights, LLC
         Marvel Property, Inc.                               MVL Development, LLC
         Marvel Characters, Inc.                             Marvel Characters, Inc.
         1290 A venue of the Americas                        500 South Buena Vista Street
         New York, NY 10104                                  Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                  Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company                             Marvel Animation Inc.
         500 South Buena Vista Street                        623 Circle Seven Drive
         Burbank, CA 91521                                   Glendale, CA 91201
         Attn: Alan Braverman, General Counsel               Attn: Legal Department



         I declare under penalty of perjury that the foregoing is true and correct. Executed this 2 nd

  day of July, 2021, at Malibu, California.




                                                       Breck Kadaba
                                                       Toberoff & Associates, P.C.
                                                       23823 Malibu Road, Suite 50-363
                                                       Malibu, CA 90265

                                                       Counsel for Nanci Solo and Erik Colan




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